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                          THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

____________________________________
                                                §
UNITED STATES OF AMERICA,                       §
                                                §
                         Plaintiff,             §
v.                                              §
                                                §       Civil No. 1:21-cv-796
THE STATE OF TEXAS,                             §
                                                §
                         Defendant.             §



                                           EXHIBIT LIST

          Pursuant to Local Rule CV-7(C)(1), the United States hereby identifies that the following

exhibits are appended to its concurrently filed Emergency Motion for a Temporary Restraining

Order or Preliminary Injunction:


     Exhibit No.    Exhibit Name
         1          Declaration of Allison Gilbert, M.D. in Support of Motion of United States of
                    America for Temporary Restraining Oder and Preliminary Injunction
                    (“Gilbert Decl.”)

         2          Declaration of Lisa Newman (“Newman Decl.”)

               A Jenna Greene, CORRECTED COLUMN: Crafty lawyering on Texas abortion bill withstood
                 SCOTUS challenge, Reuters (Sept. 5, 2021, 2:40 PM EDT)
               B Jacob Gershman, Behind Texas Abortion Law, an Attorney’s Unusual Enforcement Idea, The
                 Wall Street Journal (Sept. 4, 2021, 9:38 AM)
               C Michael S. Schmidt, Behind the Texas Abortion Law, a Persevering Conservative Lawyer, N.Y.
                 Times (Sept. 12, 2021 7:46 AM EST)
               D Emma Green, What Texas Abortion Foes Want Next, The Atlantic (Sept. 2, 2021)

         3          Declaration of Amy Hagstrom Miller in Support of Plaintiff's Motion for Temporary
                    Restraining Order and Preliminary Injunction (“Hagstrom Miller Decl.”)

         4          Declaration of Melaney A. Linton in Support of Plaintiff's Motion for Temporary
                    Restraining Order and/or Preliminary Injunction (“Linton Decl.”)
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5         Declaration of Rebecca Tong in Support of Plaintiff's Motion for Temporary
          Restraining Order and/or Preliminary Injunction (“Tong Decl.”)

6         Declaration of Vicki Cowart in Support of Plaintiff's Motion for Temporary
          Restraining Order and/or Preliminary Injunction (“Cowart Decl.”)

7         Declaration of Anna Rupani in Support of Plaintiff's Motion for Temporary
          Restraining Order and/or Preliminary Injunction (“Rupani Decl.”)

8         Declaration of Joshua Yap, M.D., MPH, in Support of Plaintiff's Motion for
          Temporary Restraining Order and/or Preliminary Injunction
          (“Yap, M.D., MPH Decl.”)

9         Declaration of Alix McLearen, PhD. (“McLearen Decl.”)

10        Declaration of John Sheehan (“Sheehan Decl.”)

11        Declaration of James S. De La Cruz (“De La Cruz Decl.”)

12        Declaration of Patrice Rachel Torres (“Torres Decl.”)

13        Declaration of Jillian Matz (“Matz Decl.”)

14        Declaration in Support of the United States' Emergency Motion for a Temporary
          Restraining Order or Preliminary Injunction ("Bodenheimer Decl.")

15        Declaration of Anne Marie Costello (“Costello Decl.”)




Declaration of Anne Marie Costello


Dated: September 14, 2021                     Respectfully submitted,

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